Case 4:15-cr-00015 Document 290 Filed on 01/10/17 in TXSD Page 1 of 1

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January 9, 2017 mcadam

Honorable Kenneth Hoyt l
United States District iudge 4» ) d
Southern District of Texas ‘ gm

515 Rusk

Houston, Texas 77002

Re: United States of America vs. Richard A. Evans, l\/l.D.
Dear Judge Hoyt:

l was not present at, nor did l know of, the trial against Richard “Dick" Evans, l\/l.D. until l was
requested to write a letter on his behalf due to his being an acquaintance of mine since the early 1990's
when he served as a medical expert for my client's medical malpractice claim. l familiarized myself with
the allegations and trial result through ”www.justice.gov" - the U.S. Attorney General's web site.

Having owned and operated a ranching business and a law office, l knew the buck stopped with
me and l was responsible for the actions of my employees during the course and scope of their
employment by me. Frankly, l am surprised that Dr. Evan's suspicions were not aroused by over 800
patients from Louisiana coming to his pain clinic and/or by his employees’ actions and representations
to him about his patients and their form of payments. lt appears from the facts l read on
“www.justice.gov" that Dr. Evans may have stuck his head in the ground like an Ostrich and blissful|y
went about trusting his employees and patients unless, of course, the crimes of which he was convicted
contained a mental element requirement Then, l find there is no ”ignorance is bliss" excuse for his
actions.

l\/ly Christian faith teaches forgiveness. Our criminal system requires Dr. Evans be punished for
his crimes against our society. However, if it is within your sentencing discretion to require that Dr.
Evans use his surgical and general medical skills to benefit our society outside the Federal penal system,
may l be so bold to suggest that you place him on ten (10) years' probation and require him to work free
of any charge, for five (5) days each week for the ten (10) years, at Ben Taub Hospital by serving the
poor and disadvantaged but under the strict supervision of Baylor College of l\/ledicine and the Texas
Board of l\/ledica| Examiners. l cannot help but believe that no societal benefit will come by merely
shipping Dr. Evans off to ”Club Fed” to play tennis and basketball for the remainder of his life.

Thank you for your consideration of my t ~ ith best wishes, l remain

  

cc: Ass’t U. S. Atty Gen’l Cedric L. Joubert via fax 713-718-3300
Atty Charlie Davidson via fax 713-524-2580

